  Case 4:23-cr-20506-FKB-CI ECF No. 14, PageID.36 Filed 12/06/23 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 UNITED STATES OF AMERICA,                                 Case No. 23‐cr‐20506

            Plaintiff,                                     F. Kay Behm
 v.                                                        United States District Judge

 MATTHEW GREEN,

      Defendant.
 ___________________________ /

        ORDER STRIKING REPRESENTED DEFENDANT’S MOTION (ECF No. 13)

        Before the court is Defendant Matthew Green’s motion to dismiss pursuant

to Federal Rule of Civil Procedure 12(b)(1). (ECF No. 13). Defendant is currently

represented by counsel1 and, accordingly, his counsel must file any motions on his

behalf. See e.g., United States v. Hamilton, 2018 WL 10075601, at *1 (E.D. Mich.

Jan. 11, 2018) (“It is well‐established law in the Sixth Circuit that a criminal

defendant cannot proceed with hybrid representation, whereby he asserts both

the right to proceed pro se and the right to counsel – he must choose one or the

other.”). As part of the latitude accorded to district courts to manage their own

dockets, courts may bar filings submitted by an individual when that individual is



        1
            Attorney Charles O. Longstreet has been representing Defendant since October 20,
2023.

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  Case 4:23-cr-20506-FKB-CI ECF No. 14, PageID.37 Filed 12/06/23 Page 2 of 2




represented by counsel. See United States v. Agofsky, 20 F.3d 866, 872 (8th Cir.

1994) (finding no error in the court’s refusal to consider pro se motion where

defendant was represented by counsel.). Defendant’s counsel has seven days in

which to indicate on the docket whether he is adopting this request. If counsel

does not adopt the request, it will be stricken from the record as improvidently

filed.

         SO ORDERED.

Date: December 6, 2023                   s/ F. Kay Behm
                                         F. Kay Behm
                                         United States District Judge




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